           Case 2:25-cv-00255-JNW          Document 13-1       Filed 02/11/25         Page 1 of 4




 1                                                    THE HONORABLE JAMAL N. WHITEHEAD

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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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 9    PLAINTIFF PACITO; PLAINTIFF ESTHER;                  Case No. C25-255 JNW
      PLAINTIFF JOSEPHINE; PLAINTIFF SARA;
10    PLAINTIFF ALYAS; PLAINTIFF MARCOS;                   [PROPOSED] ORDER GRANTING
      PLAINTIFF AHMED; PLAINTIFF RACHEL;                   PLAINTIFFS’ UNOPPOSED
11    PLAINTIFF ALI; HIAS, INC.; CHURCH                    MOTION TO FILE OVER-
      WORLD SERVICE, INC.; and LUTHERAN                    LENGTH MOTION FOR
12    COMMUNITY SERVICES NORTHWEST,                        PRELIMINARY INJUNCTION
13
                           Plaintiffs,
14
                   v.
15
      DONALD J. TRUMP, in his official capacity as
16    President of the United States; MARCO RUBIO,
      in his official capacity as Secretary of State;
17    KRISTI NOEM, in her official capacity as
18    Secretary of Homeland Security; DOROTHY A.
      FINK, in her official capacity as Acting Secretary
19    of Health and Human Services,

20                         Defendants.

21
            Having considered Plaintiffs’ motion to file an over-length motion for preliminary
22
     injunction, the Court finds that good cause exists to allow Plaintiffs to file a motion with an
23
     additional 1,600 words. Plaintiffs’ motion is therefore GRANTED.
24
            IT IS SO ORDERED:
25
            Plaintiffs may file a motion for preliminary injunction not to exceed 10,000 words.
26

     [PROPOSED] ORDER                                                        Perkins Coie LLP
                                                                      1201 Third Avenue, Suite 4900
     (No. C25-255 JNW)                                                Seattle, Washington 98101-3099
                                                                          Phone: +1.206.359.8000
                                                                            Fax: +1.206.359.9000
        Case 2:25-cv-00255-JNW         Document 13-1    Filed 02/11/25        Page 2 of 4




 1       Dated this ___ day of February, 2025.

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                                                 _____________________________________
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                                                 United States District Judge
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     [PROPOSED] ORDER – 2                                            Perkins Coie LLP
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     (No. C25-255 JNW)                                        Seattle, Washington 98101-3099
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     Esmé L. Aston, WSBA No. 62545                 INTERNATIONAL REFUGEE
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     Counsel for Plaintiffs
24
     * Admitted pro hac vice
     †
25     Pro hac vice forthcoming

26

     [PROPOSED] ORDER – 3                                                 Perkins Coie LLP
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 1                                  CERTIFICATE OF SERVICE

 2          I certify under penalty of perjury that on February 11, 2025, I caused to be electronically

 3   filed the foregoing document with the Clerk of the Court using the CM/ECF system, which will

 4   send a notification of the filing to the email addresses indicated on the Court’s Electronic Mail

 5   Notice List.

 6          Dated: February 11, 2025

 7                                                    s/ Harry H. Schneider, Jr.
                                                      Harry H. Schneider, Jr.
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     CERTIFICATE OF SERVICE                                                   Perkins Coie LLP
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